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  7                                  UNITED STATES DISTRICT COURT
                                  Central District DISTRICT OF CALIFORNIA
  8
  9
 10
       Orlando Garcia,                                   Case: 2:21-cv-03746-VAP-SHK
 11                Plaintiff,                            Plaintiff’s Notice of Voluntary
 12       v.                                             Dismissal Without Prejudice
 13
       Rujal, LLC;; and Does 1-10,
 14                                                      Fed. R. Civ. P. 41(a)(1)(A)(i)
                   Defendants.
 15
 16
 17            PLEASE TAKE NOTICE that Plaintiff Orlando Garcia, hereby voluntarily
 18   dismisses the above captioned action without prejudice pursuant to Federal Rule
 19   of Civil Procedure 41(a)(1)(A)(i).
 20            The above mentioned defendants have neither answered Plaintiff’s
 21   Complaint, nor filed a motion for summary judgment. Accordingly, this matter
 22   may be dismissed without an Order of the Court.
 23
      Dated: January 24, 2023                          CENTER FOR DISABILITY ACCESS
 24
 25                                                    By: /s/Bree Durso_
 26
                                                       Bree Durso, Esq.
                                                       Attorney for Plaintiff
 27
 28



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      Plaintiff’s Notice of Voluntary Dismissal
